











Opinion issued December 31, 2009







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In The
Court of Appeals
For The
First District of Texas




NO. 01-09-00222-CR




ROBERT M. FREEMAN, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 241st District Court
Smith County, Texas
Trial Court Cause No.  241-1707-08




MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Robert M. Freeman, pleaded guilty to the offense of burglary of a
habitation without an agreement as to punishment with the State.  Appellant elected
to have punishment assessed by a jury.  In accordance with the verdict of the jury the
trial court sentenced appellant to confinement for 30 years.  We affirm.



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s counsel on appeal has filed a brief stating that the record  presents 
no reversible error, that the appeal is without merit and is frivolous, and that the
appeal must be dismissed or affirmed.  See Anders v. California, 386 U.S. 738, 87
S.Ct. 1396, (1967). The brief meets the requirements of Anders by presenting a
professional evaluation of the record and detailing why there are no arguable grounds
for reversal.  Id. at 744, 87 S.Ct. at 1400; see also High v. State, 573 S.W.2d 807, 810
(Tex. Crim. App. 1978). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Counsel represents that he has served a copy of the brief on appellant.  Counsel
also advised appellant of his right to examine the appellate record and file a pro se
brief.  See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).  More than
30 days have passed, and appellant has not filed a pro se brief.  Having reviewed the
record and counsel’s brief, we agree that the appeal is frivolous and without merit and
that there is no reversible error.  See Bledsoe v. State, 178 S.W.3d 824, 826–27 (Tex.
Crim. App. 2005).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We affirm the judgment of the trial court and grant counsel’s motion to
withdraw.


  Attorney James W. Huggler, Jr. must immediately send the notice
required by Texas Rule of Appellate Procedure 6.5(c) and file a copy of that notice
with the Clerk of this Court.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny as moot any pending motions.
PER CURIAM
Panel consists of Justices Keyes, Alcala, and Hanks.                                         
Do not publish.  Tex. R. App. P. 47.2(b).
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